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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

CAROLYN BASLER,

      Plaintiff,

vs.                                      CASE NO.: 8:21-cv-1066-VMC-SPF

AETNA LIFE INSURANCE
COMPANY,

      Defendants.
                                     /

              JOINT NOTICE OF SETTLEMENT AND
        REQUEST FOR PERMISSION TO CANCEL MEDIATION

      COME NOW, the Plaintiff and the Defendant, by and through the

undersigned counsel and hereby notify the Court that this matter was settled

pursuant to Local Rule 3.09(a). This Court’s Order Appointing Mediator dated

July 8, 2021 provides that the parties cannot cancel the mediation without first

obtaining leave of Court even if the parties have reached a settlement.

Accordingly, the parties respectfully request this Honorable Court allow them to

cancel the mediation scheduled for October 7, 2021.

      The parties will file an appropriate Stipulation dismissing this matter once

the final settlement documents have been executed.

Date: September 17, 2021
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